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 7
                                    UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
 9
10
   United States of America, State of California,         )    Case No. 14-CV-05165 LB
11 ex rel. Hercules Malabanan,                            )
                                                          )     STIPULATION AND NOTICE OF
12                                                        )     DISMISSAL
                            Plaintiffs,                   )
13                  v.                                    )
                                                          )
14 San Francisco Pain Management and Physical             )
   Therapy (d.b.a. Total Care Plus), et al.,              )
15                                                        )
16                          Defendants.                   )
                                                          )
17
            1.      Under Federal Rule of Civil Procedure 41(a)(1), the United States of America and the
18
     Relator in this action, through his successor in interest and authorized representative, Nieves Briones
19
     Malabanan, hereby stipulate to dismiss with prejudice the claims against defendant Parvez Fatteh
20
     (“Fatteh”) concerning the “Covered Conduct,” as defined in and pursuant to the terms and conditions of
21
     the Settlement Agreement that they entered into with Fatteh, effective on July 10, 2020 (“Settlement
22
     Agreement”).
23
            2.      Under Federal Rule of Civil Procedure 41(a)(1), and consistent with the terms of the
24
     Settlement Agreement, the Relator dismisses without prejudice all other claims made against Fatteh, and
25
     claims made against all remaining defendants San Francisco Pain Management and Physical Therapy
26
     (d.b.a. Total Care Plus), Thang Nguyen, Anthony Ngo, and Eugene Plotista. The United States has
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     STIPULATION OF DISMISSAL
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1 informed Relator that it consents to the dismissal of the remaining claims in this case against Fatteh and

2 the claims against all remaining defendants, provided that dismissal is without prejudice to the rights of

3 the United States.

4           3.      The United States and the Relator specifically do not release any claims not expressly

5 released by the Settlement Agreement.

6           4.      No answer has been served or filed, and no parties other than the United States and the

7 Relator have appeared in this action.

8 IT IS SO STIPULATED.

9                                                  Respectfully submitted,
10                                                 DAVID L. ANDERSON
                                                   United States Attorney
11

12 DATED: July 29, 2020                            By:            /s/
13                                                 GIOCONDA R. MOLINARI
                                                   Assistant United States Attorney
14                                                 Attorneys for the United States

15
                                                   COTCHETT, PITRE, MCCARTHY, LLP
16

17 DATED: July 29, 2020                            By:     ____/s/__________________________
                                                           NIALL P. MCCARTHY
18                                                         JUSTIN T. BERGER

19
                                                            THE BROD LAW FIRM
20

21
     DATED: July 29, 2020                          By:     ______/s/________________________
22                                                         GREGORY J. BROD
                                                           Attorneys for Plaintiff-Relator
23
     In compliance with Civil Local Rule 5-1(i), the filer of this document attests that all signatories listed
24
     have concurred in the filing of this document.
25

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     STIPULATION OF DISMISSAL
     Case No. 14-CV-05165 LB                           2
